
OPINION OF THE COURT
Memorandum.
Order of the Appellate Division to the extent appealed from affirmed, without costs, on so much of the opinion of Mr. Justice Samuel Rabin at the Appellate Division relevant to the application of article 7 of the Public Officers Law to meetings of the City Council of the City of Newburgh (sée 60 AD2d 409, 411-417). The purpose and intention of the State Legislature in the present context are interpreted as expressed in the language of the statute and its preamble. It is neither appropriate nor necessary to suggest agreement with the legislative policy or to indorse it, a matter exclusively for the Legislature in applying its views to the legislative and executive branches of government.
The fact of the matter is that neither public nor private meetings of governmental bodies are inherently desirable or undesirable. Whichever kind of meeting is permitted or required, there are, as developed in the arguments by the parties to this proceeding, off-setting losses and gains. The evaluation and balancing of the factors are ultimately, within the framework of the present statute and the issues as presented, for the State Legislature and not the courts. Indeed, the legislative reaction to the problems engendered by an "open meetings law” is illustrated to some extent by the existing exemptions permitting the holding of executive sessions (Public Officers Law, § 100).
